Case 1:11-cv-03442-WDQ Document 36 Filed 06/30/16 Page 1 of 6

KENNETH ACKERMAN, et al., *k IN THE U.S.

Plaintiffs * DISTRICT COURT
v.

** FOR THE DISTRICT OF
EXXON MOBIL CORPORATION, et al.,
* MARYLAND

Defendants
* BALTIMORE DIVISION
* Case No.: 11-CV-3442 WDQ
% * * * ” *k k k * % # * * *k

STIPULATION OF DISMISSAL WITH PREJUDICE

WHEREBY the Plaintiffs had filed suit in this removed action secking compensatory and
punitive damages in connection with groundwater contamination by MTBE gasoline released
from the Upper Crossroads Exxon Station; and whereby parties have executed Confidential
Release Agreements to settle all claims and whereby the parties have stipulated to the dismissal
of the underlying State action in Harford County Circuit Court Case No. 12-C-04-1834, a copy of
which dismissal is attached as Exhibit A, it is hereby agreed and stipulated, pursuant to Rule 41
(a) (1) (A) (ii) that the above captioned matter be dismissed with prejudice.

A. Consistent with the terms of the Confidential Release Agreements between the
parties, the Plaintiffs, by and through the law offices of Peter G. Angelos, P.C., hereby dismiss
their claims against Defendants Exxon Mobil Corporation and John Hicks, with prejudice, in the
above-captioned action, pursuant to Rule 41 (a) (1) (A) (ii).

B. Bach party shall bear its own costs,
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Counsel for Exxon Mobil Corporation
Case 1:11-cv-03442-WDQ Document 36 Filed 06/30/16 Page 3 of 6

CERTIFICATE OF SERVICE

+h
Thereby certify that on the dO day of June, 2016 1 caused the foregoing Stipulation of Dismissal

to be delivered by email and first class U.S. mail, postpaid, to the following:

Theodore M. Flerlage, Esquire
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Fare

Paul W. Ishak

 
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HOPE KOCH, etal., * IN THE
Plaintifts, # CIRCUIT COURT

¥ * FOR

JOHN HICKS, et al, . % HARFORD COUNTY
Defendants. * Case No. 12-C-04-1834

STIPULATION OF DISMISSAL WITH PREJUDICE

WHEREBY the Plaintiffs tiled suit in the above captioned case secking compensatory
and punitive damages in connection with groundwater contamination by MTBE gasoline
released from the Upper Crossroads Exxon Station; and whereby parties have executed
Confidential Release Agreements to settle all claims; it is hereby agreed and stipulated, pursuant
to Maryland Rule 2-506(a}(2), that:

A. Consistent with the terms of the Confidential Release Agrcements between the
patties, the parties, by and through the law offices of Peter G. Angelos, P.C,, hereby disinigs their

claims against Defendants 2xxon Mobil Corporation and John Hicks, with prejudice, in the

above-captioned action, pursuant to Maryland Rule 2-506(a)(2);

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B, Each party shall bear its own costs,

Dated: Mare roby Z 4, 2016

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Counsel for Exxon Mobil Corporation

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CERTIFICATE OF SERVICE

Thereby certify that on the 2 tay of March, 2016 I caused the foregoing

Dismissal to be delivered by first class U.S. miail, postpaid, to the following;

Theodore M. Flerlage, Esquire
Peter G. Angelos, PC

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Stipulation of

 
